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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:21-cv-08857-RSWL-MAA                                         Date       November 15, 2021
 Title             Kee Sook Ahn v. Central California Livestock, Inc., et al.




 Present: The Honorable          RONALD S.W. LEW, Senior U.S. District Judge
                D. Rojas for Catherine Jeang                                          None
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                           Not Present
 Proceedings:                 (IN CHAMBERS) ORDER TO SHOW CAUSE RE EXERCISE OF
                              SUPPLEMENTAL JURISDICTION RE STATE LAW CLAIMS


The Court ORDERS Plaintiff to SHOW CAUSE in writing why the Court should exercise supplemental
jurisdiction over the Unruh Act and other state law claims asserted in the Complaint.


Plaintiff shall file a Response to this Order to Show Cause by no later than November 23, 2021.

Failure to timely or adequately respond to this Order to Show Cause may, without further warning, result
in the dismissal of the entire action without prejudice or the Court declining to exercise supplemental
jurisdiction over the state law claims and the dismissal of those claims pursuant to 28 U.S.C. § 1367(c).




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                                                               Initials of Preparer    DR




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